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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

         Plaintiff,

v.                                                          Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware
corporation; VINCE KADLUBEK,
an individual and officer; and
DOES 1-50,

         Defendants.


  DEFENDANTS MOTION FOR PARTIAL SUMMARY JUDGMENT LIMITING
REMEDIES AVAILABLE FOR PLAINTIFF’S COPYRIGHT INFRINGEMENT CLAIM

         Defendants Meow Wolf, Inc. and Vince Kadlubek (Meow Wolf) move the Court pursuant

to Fed. R. Civ. P. 56 for summary judgment to limit the remedies available to Plaintiff Lauren

Oliver under her claim of copyright infringement. Plaintiff opposes this motion.

                                       INTRODUCTION

         Plaintiff Lauren Oliver has made numerous allegations of copyright infringement against

Meow Wolf—from the House of Eternal Return (HoER) coloring book, which included one page

depicting her Space Owl, to displaying ISQ to the HoER exhibition catalog, which obviously

included a photograph of ISQ. All of these alleged infringements have one thing in common—

they all began before plaintiff registered her copyright in 2018. As a result, none of the alleged

infringements are eligible for statutory damages and attorneys’ fees. This motion first seeks

summary judgment eliminating the remedies of statutory damages and attorneys’ fees, which are

only available under 17 U.S.C. § 412 if registration occurred before the alleged infringement

began.
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       Second, there is a complete absence of evidence of actual damages flowing from any of

the claimed infringements. Actual damages are defined as the extent to which the market value of

a copyrighted work has been injured or destroyed by infringement, and involve determination of a

work’s market value at the time of the infringement and the diminution in that market value after

infringement. Direct evidence of actual damages can include lost sales as a result of infringement,

such as when a publisher will not publish a book because an infringer has already put the book on

the market. Ms. Oliver had exhibited Space Owl and offered it for sale before HoER, but it did not

sell and she dismantled it and recycled the parts. There is no evidence plaintiff lost any sale as a

result of alleged infringement, and plaintiff’s expert on this issue has no opinion on actual

damages. Oliver has offered no evidence of loss of market value to ISQ due to the alleged

infringing uses by Meow Wolf. As a result, Ms. Oliver’s claim of actual damages fails due to lack

of evidence, and summary judgment should be granted eliminating actual damages from alleged

copyright infringement.

       The final remedy a copyright infringement plaintiff may seek—and the sole remedy

plaintiff seeks—is profits of the defendant that are attributable to infringement. But courts have

uniformly held that a plaintiff may only recover profits of the infringer that are reasonably related

to the infringement, not unrelated profits. A plaintiff must show non-speculative evidence

establishing a causal nexus between profits and the alleged infringement. Plaintiff’s expert has

opined that every cent of revenue at HoER from its opening day in March 2016 goes to Ms.

Oliver—every admission ticket, every Meow Wolf hoodie sold in the gift shop, every concert

ticket even though many of the shows are in the evening when the exhibit is closed, and every

sandwich sold in the cafe. All the revenue from HoER from opening day is                            ,

and plaintiff has not remotely shown a causal nexus between ISQ and all the merchandise, event,
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food and beverage, and admission sales. Meow Wolf’s expert has identified the profits reasonably

related to the alleged infringement, and no other expert has controverted that analysis. Although

Meow Wolf strongly believes that display of ISQ was not infringing, as set out in its summary

judgment motion on that issue (Doc. 278), summary judgment should independently be granted

limiting recovery of profits to         , as set out in Mr. Torres’ expert report.

       Plaintiff has identified thirteen claimed infringements, although she claims damages from

only four. All thirteen are listed here because plaintiff does claim statutory damages, and in order

to show that statutory damages are barred by the statute, Meow Wolf shows that all of the claimed

infringements began before copyright registration. The claimed infringements are:

   1. “[C]harging visitors an admission fee to view Plaintiff’s artwork at HoER represents a
copyright violation.” See Exhibit 1, at 28.

    2. “Any Space Owl-titled drinks sold in the coffee/bar.”1 See Exhibit 1, at 28

   3. “Virtual reality piece for SXSW [South by Southwest], which did not include a credit or
copyright information.”. See Exhibit 1, at 28

    4. “The image of the Space Owl in a Red Bull-branded embedded video frame on the Meow
Wolf website launching a Red Bull-produced video for their ‘Screenland’ series, also available on
their TV channel.” See Exhibit 1, at 29.

    5. “The Exhibit Catalog, sold in the Gift Shop and online.” See Exhibit 1, at 29

    6. “The Meow Wolf Coloring Book, sold in the Gift Shop and online.” See Exhibit 1, at 29.

    7. “The use of the Space Owl on the soundtrack CD cover/YouTube.” See Exhibit 1, at 29.

    8. “The deal with the Rooster Teeth marketing company in Texas to allow them to use the
Space Owl character for online content, which progressed far enough for them to have developed
a character voice.” See Exhibit 1, at 29.




1
 Oliver does not allege that Meow Wolf used any pictures of the Space Owl or ISQ on the menu
or anywhere else in conjunction with selling themed drinks. Copyright cannot protect names such
as Space Owl, and at no point does Oliver explain how this “use” infringed any right under the
Copyright Act.
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   9. “The unauthorized footage of the Space Owl in the trailer for the film, ‘Meow Wolf: Origin
Story,’ in all showings online, streamed, and in theatres.” See Exhibit 1, at 29.

     10. “The unauthorized footage of the Space [Owl] in the film, ‘Meow Wolf: Origin Story,’ in
all showings online, streamed, and in theatres.” See Exhibit 1, at 29.

    11. “Use of Plaintiff’s work by Meow Wolf on the internet and social media, sponsored posts
or otherwise, tweets and retweets, which are too numerous to catalogue here. Examples include
Defendants’ use of the Space Owl in their Instagram ‘Todos 7’ campaign, and multiple other
Instagram posts (sponsored and otherwise) by Meow Wolf.” See Exhibit 1, at 29.

    12. “Any image of, or showing of, Plaintiff’s work shown to investors, press, as part of
business development, or to other third-parties for the benefit of Defendants, including in-person
visits.” See Exhibit 1, at 29 .

    13. “Use of Space Owl to represent Meow Wolf itself.” Exhibit 1, at 29.2

Plaintiff’s Answer to Interrog. No. 8, Nov. 20, 2020, attached as Exihibit 1.

       Plaintiff only claims monetary damages from the following:

    1. Disgorgement of HoER’s gross revenue based on “[s]howing Plaintiff’s work without
       license March 16, 2016 to present. Ex. 2, at 2.

    2. Gross revenues generated by Coloring Book sales based on “[u]nauthorized use of a
       reproduction of Plaintiff’s work in Coloring Book. Ex. 2, at 2-3.

    3. Gross revenues generated by Exhibition Catalog sales based on [u]nauthorized use of a
       reproduction of Plaintiff’s work in HoER Exhibition Catalog. Ex. 2, at 3.

    4. Reasonable royalty or licensing fee for the [u]nauthorized use of reproductions of
       Plaintiff’s work without a license in pitch decks and materials provided to third parties for
       solicitation of investment and/or to promote Meow Wolf. Ex. 2, at 3.

    5. Statutory damages and attorneys’ fees in an amount to be proved at trial.

See Pl’s Answer to Interrog. No. 14, Dec. 21, 2021, attached as Exihibit 2.

       Ms. Oliver has evidence of a causal link to profits only for her claims of displaying ISQ at

HoER, the coloring book, and HoER exhibition catalog. No causal connection to profits can be




2
  Oliver does not explain what she means in this regard, nor does she provide any instances of
infringing use that fit within this answer to Meow Wolf’s interrogatory.
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established for the remaining alleged infringements. Ms. Oliver’s claimed entitlement to the

entirety of HoER’s six years of revenue, despite ISQ being a tiny fraction of the whole, should be

dismissed.

                               UNDISPUTED MATERIAL FACTS

       1.       Ms. Oliver’s earliest copyright registration for ISQ is dated June 24, 2018. See TXu

Certificate of Registration attached as Exhibit 3.

       2.       ISQ was first published March 16, 2016. See Application dated September 19, 2019

attached as Exhibit 4.

       3.       Ms. Oliver did not register her copyright for more than two years after her own

alleged date of publication.

       4.       All of the following uses commenced before June 24, 2018:

             a. Public display of ISQ began March 16, 2016, when HoER opened to the public.

       See Exhibit 1, at 11 (“Plaintiff designed her HoER installation during summer and fall

       2015 and worked on-site from January 2 to the March 16 opening in 2016.”).

             b. Café and bar drinks with the name “Space Owl Jelly” began at least as early as

       January 5, 2017. See January 5, 2017, Café Menu, attached as Exhibit 5.

             c. The virtual reality piece for SXSW launched March 13, 2018. See Draft Press

       Release, attached as Exhibit 6 (“Tuesday March 13 – Thursday March 15, [2018] … Meow

       Wolf’s first VR Experience, The Atrium, premieres at SXSW as an official selection of

       SXSW Virtual Cinema Program.”).

             d. The complained-of episode of the Red Bull documentary series “Screenland”

       launched April 24, 2017. See Image dated April 19, 2017 attached as Exhibit 7 (“Meow
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       Wolf being featured in a new Red Bull documentary series called Screenland that debuts

       April 24th.”).

            e. Meow Wolf began selling the Exhibition Catalog in stores and online in May 2018.

       See “HOER Exhibit Catalog” Sales Chart attached as Exhibit 8.

            f. Meow Wolf began selling the Coloring Book in November 2017. See “HOER

       Coloring Book” Sales Chart attached as Exhibit 8.

            g. Meow Wolf began using the CD Cover in 2017. See August 22, 2017, email thread

       between Lauren Oliver and Geet Jacobs, attached as Exhibit 9 (Lauren Oliver: “So we’re

       just talking about the cover of the YouTube video, right?” Geet Jacobs: “I think it’s the

       actual cover of the CD they want to sell.”);

            h. The Rooster Teeth team never filmed ISQ or Space Owl so the series aired without

       including Space Owl. See May 2, 2018 Email from Isabel Zermani to Lauren Oliver,

       Subject Line: Space Owl in web series request, attached as Exhibit 10.

            i. “Meow Wolf: Origin Story” and the associated trailer, which includes two brief

       glimpses of Space Owl, premiered March 10, 2018. See Exhibit 6 (“Meow Wolf: Origin

       Story Documentary World Premiere”).

            j. Social Media posts advertising HoER that included ISQ began before registration.

       See Instagram April 6, 2016 post, attached as Exhibit 11.

            k. Meow Wolf included Space Owl in pitch materials in the third quarter of 2017,

       possibly earlier. See Q3 2017 Pitch Deck, page 2 attached as Exhibit 12.

       5.      Oliver admitted under oath that she has never received past payments to license her

artwork, and no one has ever paid her to buy or license a copyright. Lauren Oliver Deposition,

attached as Exhibit 13, 323:5-19.
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        6.      An artist rendering of Space Owl appears on one page of a 27-page coloring book

sold by Meow Wolf. See Coloring Book attached as Exhibit 14 at MW_037744.

        7.      A photograph of Space Owl appears on one page of the 65-page exhibition catalog

sold by Meow Wolf. See Exhibit Catalog attached as Exhibit 15 at MW_37773.

                            STANDARD ON SUMMARY JUDGMENT

        Summary judgment is proper when there are no genuine issues of any material fact, and as

a result the movant is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c). A fact is

“material” if it may reasonably affect the outcome of the lawsuit. Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). A dispute is not “genuine” unless there is evidence sufficient to cause a

reasonable jury to find in the nonmovant’s favor. Id. at 252. Although the district court does not

weigh the evidence, “the mere existence of some alleged factual dispute between the parties will

not defeat an otherwise properly supported motion for summary judgment.” Id. at 247-48

(emphasis in original). The court must, at any rate, be mindful of the ultimate standard of proof

that the plaintiff faces. Id. at 252.

        On the one hand, “[i]f the evidence is merely colorable or is not significantly probative,

summary judgment may be granted.” Id. at 249. Likewise, “[t]he mere existence of a scintilla of

evidence in support of the plaintiff’s position will be insufficient.” Id. And on the other hand, if

the plaintiff produces no evidence for a point, there is no material question of fact about it. Master

Mortg. Inv. Fund, Inc. v. Chicago Title Ins. Co., 34 F.3d 1076 (10th Cir. 1993) (“Given this void,

we agree with the district court that there is no material fact question regarding the existence of an

agreement ….”). Indeed, “[w]hen opposing parties tell two different stories, one of which is

blatantly contradicted by the record[] so that no reasonable jury could believe it, a court should not
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adopt that version of the facts for purposes of ruling on a motion for summary judgment.” Scott v.

Harris, 550 U.S. 372, 380 (2007).

                                           ARGUMENT

                                    I
                       SECTION 412 OF THE ACT BARS
             OLIVER FROM RECOVERING THE EXTRAORDINARY
          REMEDIES OF STATUTORY DAMAGES AND ATTORNEY’S FEES
       The Copyright Act provides enhanced remedies of statutory damages and attorneys fees if,

and only if, a work was registered before the infringement began or within three months of first

publication. Statutory damages allow the Court to award up to $30,000 per work infringed as well

as costs and attorney fees. 17 U.S.C. §§ 504(a) & 505. However, as a matter of statutory mandate,

these remedies are only available if a copyright owner registered her copyright either 1) prior to

the infringement or 2) after the infringement but within a three-month grace period after the first

publication of the work:

       [N]o award of statutory damages or of attorney’s fees, as provided by sections 504
       and 505, shall be made for—(1) any infringement of copyright in an unpublished
       work commenced before the effective date of its registration; or (2) any
       infringement of copyright commenced after first publication of the work and before
       the effective date of its registration, unless such registration is made within three
       months after the first publication of the work.
17 U.S.C. § 412. The limitation found in § 412 is designed to provide an incentive for copyright

owners to register early and for potential infringers to check the federal register. Johnson v. Jones,

149 F. 3d 494, 505 (6th Cir. 1998).

       According to her Amended Complaint, Oliver published ISQ and Space Owl at a Phil

Space show in June 2015, and obviously they were published in March 2016 when HoER opened.

See Doc. 148, Para. 17. Oliver did not register a copyright in ISQ until June 24, 2018. See Ex. 3.

Even assuming the later publication date, Ms. Oliver did not register her copyright within three

months after publication.
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         When an infringing act begins prior to registration and continues after registration, courts

including the District of New Mexico have consistently held that such infringement began before

registration, based on the express language “commenced” in § 412. Wilson v. Brennan, 666 F.

Supp. 2d 1241, 1264 (D.N.M. 2009) (holding “every court that has considered the issue has

reached the same conclusion: that ‘infringement commences for the purposes of § 412 when the

first act in a series of acts constituting continuing infringement occurs”) (quoting Johnson v. Jones,

149 F. 3d 494, 506 (6th Cir. 1998)). In fact, the leading treatise on copyright references this Court

in the section entitled “Defining ‘Commencement.’” See 2 Nimmer § 7.16[C][1][a][i] (“To

illustrate the methodology of determining commencement, consider a case arising out of the bible

for annual bicycle races held in the New Mexico desert.”) (discussing Wilson, 666 F. Supp. 2d at

1264).

         In attempting to collect statutory damages, Wilson argued that acts of infringement after

his registration were distinct acts for purposes of § 412. The Court explained that organizers had

distributed his text without license in conjunction with a race prior to his copyright registration,

marking the “commencement” of the use of the infringing materials in the annual race. Id. As this

Court explained, “Because the Defendants’ infringement commenced after first publication of

Wilson’s works and before the effective date of registration, Wilson may not recover statutory

damages unless the registration occurred within three months of first publication.” Id. (citation

omitted). But, like our case, “Wilson did not register his works until nearly three years after first

publication.” Id. “Thus, Wilson may not recover statutory damages.” Id.

         Oliver cannot recover statutory damages, costs or attorneys’ fees under the Copyright Act

because every act of infringement she alleges commenced before she registered her copyright.
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       A.      The Plain Language of § 412 Bars Oliver
               From Recovering Statutory Damages Because Each
               Alleged Infringement Commenced Prior To Registration

       As outlined above, Oliver identified twelve distinct uses that she believes infringed her

copyright in ISQ. Meow Wolf maintains that none of these uses infringed Oliver’s copyright in

ISQ, but even if they were infringing, eleven commenced before plaintiff’s June 24, 2018

registration, precluding recovery of statutory damages and attorneys’ fees. The remaining one, the

Rooster Teeth series, did not include ISQ because Ms. Oliver asked that ISQ be excluded. The

commencement dates for each use are as follows:

       (a) Displaying ISQ and Space Owl in the HoER began March 2016;

       (b) Selling Space Owl-themed drinks in the café and bar at HoER began at least as early as
           January 5, 2017;

       (c) marketing the HoER through a virtual reality piece for SXSW launched in March 2018;

       (d) marketing HoER through an episode of a Red Bull documentary series which launched
           in 2017;

       (e) selling and distributing the Exhibit Catalog began in May 2018;

       (f) selling and distributing the Coloring Book began in November 2017;

       (g) using Space Owl on a CD cover for a Meow Wolf Soundtrack began 2017;

       (i) marketing the HoER through the Documentary began March 2018;

       (j) marketing the HoER through social media posts began at least as early as April 2016;

       (k) investor pitch materials and slide decks that included an image of Space Owl began at
           least as early as the third quarter of 2017;

       (l) using the Space Owl to represent Meow Wolf began in March 2016.

Because each of Meow Wolf’s allegedly infringing uses commenced before Oliver registered her

copyright on June 24, 2018, § 412 bars statutory damages, costs and attorney fees under

§§ 504(a)(2) and 505. Summary judgment is appropriate because these facts are uncontroverted.
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                                     II
                      OLIVER HAS NO EVIDENCE OF LOSS
                     OF MARKET VALUE DUE TO ALLEGED
              INFRINGEMENTS AS REQUIRED FOR ACTUAL DAMAGES

        Oliver cannot be awarded actual damages pursuant to § 504(b) because she has presented

no evidence to show that any of Meow Wolf’s allegedly infringing uses or ISQ or Space Owl

diminished the market value of the work.

        When a Plaintiff has failed to register their copyright prior to infringement, Section 504(b)

of the Act provides two remaining means to obtain monetary remedies: actual damages and profits

of the infringer:

        The copyright owner is entitled to recover the actual damages suffered by him or
        her as a result of the infringement, and any profits of the infringer that are
        attributable to the infringement and are not taken into account in computing the
        actual damages. In establishing the infringer's profits, the copyright owner is
        required to present proof only of the infringer's gross revenue, and the infringer is
        required to prove his or her deductible expenses and the elements of profit
        attributable to factors other than the copyrighted work.

17 U.S.C. § 504(b). The Ninth Circuit has defined actual damages as “the extent to which the

market value of a copyrighted work has been injured or destroyed by an infringement.” Frank

Music Corp. v. MGM, Inc., 772 F.2d at 512 (quoting Nimmer on Copyright § 14.02, at 14–6

(1985)). In Mackie v. Rieser, 296 F.3d 909, 917 (9th Cir. 2002), the Court of Appeals affirmed the

methodology in Frank Music Corp. to determine a work’s market value at the time of the

infringement as “what a willing buyer would have been reasonably required to pay to a willing

seller for [the owner’s] work.” Id. (quoting Sid & Marty Krofft Television Prods., Inc. v.

McDonald’s Corp., 562 F.2d 1157, 1174 (9th Cir. 1977)). A direct way to establish damage to the

market value of a copyrighted work is lost sales or profits such as evidence that the infringement

caused the Plaintiff to lose another interested buyer, as seen in Cream Records, Inc. v. Jos. Schlitz

Brewing Co., 754 F .2d 826, 827–28 (9th Cir. 1985). There, the plaintiff provided evidence that an
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advertiser had approached them to license a song but withdrew their interest when another

commercial used the song first, without Cream’s permission. Id. at 827. (“There was testimony

that use of a well-known popular song in a commercial destroys its value to other advertisers for

that purpose.”).

       Frank Music Corp. is a particularly telling example of a case where a plaintiff offered a

precise measurement of damages that the court rejected as too speculative to support damages

under § 504(b). Frank Music Corp. at 513. There, the plaintiff introduced detailed testimony both

that a full production of their play could have been licensed in Las Vegas for $7,500 per week and

that the infringing use of a single song from the play by the defendants had destroyed the entire

Las Vegas market for the play. The Ninth Circuit Court of Appeals affirmed the trial court’s

rejection of this evidence as too uncertain and speculative to support a measure of actual damages

because the infringement was just six minutes of music from the play and didn’t tell any of the

story, so it was not implausible for the fact finder to conclude that the infringement “would not

significantly impair the prospects for presenting a full production of that play.” Id.

       Ms. Oliver has offered no evidence, speculative or otherwise, to support a claim for actual

damages under the Act. Plaintiff’s original expert disclosure deadline was March 5, 2021. After

defense counsel pointed out that copyright damages were unavailable because plaintiff had

disclosed no copyright damages expert by the expert disclosure deadline, plaintiff asked the Court

for permission to engage an expert to “determine the value to Defendants that the unauthorized

use of Oliver’s work represents to their brand and venture as a whole, as well as a reasonable

royalty and/or value associated with the use itself.” Doc. 126, at 2. The Court granted the motion

in part, permitting plaintiff to disclose an expert specifically “regarding the pitch decks or claims

added in the amended complaint or the proposed counterclaim . . . .” Doc. 204, at 3. Plaintiff has
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provided some expert opinion testimony from Russel W. Mangum III, Ph.D opining on gross

revenues attributable to Meow Wolf’s alleged infringements. But his report offers no opinions on

pitch decks and no opinions on any actual damages. See Expert Report of Russell W. Mangum III,

Ph.D attached as Exhibit 16. In his deposition, Mr. Mangum confirmed that he had no opinions

on a reasonable license fee or royalty, sales by Oliver prior to HoER, or appraisal value of ISQ or

Space Owl. Russell Mangum Dep., March 23, 2022, 38:13–41:5 attached as Exhibit 17. Ms.

Oliver testified that no one had previously offered to buy a copyright in any of her artworks (Ex.

13, 323:5–10) and that she had never received money for licensing her art. Ex. 13, 323:11–19.

       Further, establishing actual damages requires an objective analysis, and evidence of a

copyright owner’s displeasure or personal objections about the way their work was portrayed or

used cannot establish actual damages. Mackie at 917 (holding that ‘hurt feelings’ over the nature

of the infringement has no place in this calculus.). Summary judgment precluding actual damages

under § 504(b) of the Act is appropriate here because Oliver has offered no evidence to show that

Meow Wolf’s allegedly infringing uses of ISQ diminished the market value of her work.

                              III
           OLIVER MAY BE AWARDED PROFITS ONLY WHERE
       SHE HAS PROVIDED EVIDENCE TO ESTABLISH A RATIONAL
  CONNECTION BETWEEN AN INFRINGING ACT AND A SOURCE OF REVENUE

       Section 504(b) also provides a copyright owner the opportunity to claim “any profits of the

infringer that are attributable to the infringement and are not taken into account in computing the

actual damages. In establishing the infringer’s profits, the copyright owner is required to present

proof only of the infringer’s gross revenue, and the infringer is required to prove his or her

deductible expenses and the elements of profit attributable to factors other than the copyrighted

work.” 17 U.S.C. § 504(b).
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       However, courts do not construe the statutory language referencing gross revenue literally

to mean to a copyright owner need merely point to revenue of the infringer in order to recover

profits. Instead, the phrase “gross revenue” refers to revenue reasonably related to the

infringement. Wood v. Houghton Mifflin Harcourt Publ’g Co., 589 F. Supp. 2d 1230, 1245 (D.

Colo. 2008) (“Rather, ‘gross revenue’ refers only to revenue reasonably related to the

infringement. The copyright owner thus has the burden of demonstrating some causal link between

the infringement and the particular profit stream before the burden-shifting provisions of § 504(b)

apply”) (quoting Bonner v. Dawson, 404 F.3d 290, 294 (4th Cir. 2005)). The Plaintiff’s burden of

demonstrating some causal nexus between the infringement and a particular profit stream is

recognized consistently across circuits. Davis v. The Gap, Inc., at 160 (“Nonetheless we think the

term ‘gross revenue’ under the statute means gross revenue reasonably related to the infringement,

not unrelated revenues.”); Dash v Mayweather, 731 F. 3d 303, 331 (4th Cir 2013) (“In summation,

whether at the summary judgment stage or at trial, a plaintiff seeking profit damages has an

affirmative duty to prove the defendant's gross revenue reasonably related to the infringement.”);

Andreas v. Volkswagon of Am., Inc., 336 F. 3d 789, 796 (8th Cir. 2003) (“The nexus requirement

exists in both direct and indirect profits cases.”) (citing to Taylor v. Meirick, 712 F. 2d 1112, 1122

(7th Cir. 1983)); Polar Bear Prods. v. Timex Corp., 384 F.3d 700, 708 (9th Cir. 2004) (“From the

statutory language, it is apparent that a causal link between the infringement and the monetary

remedy sought is a predicate to recovery of both actual damages and profits.”); Univ. of Colo.

Found. v. Am. Cyanamid Co., 196 F. 3d 1366, 1375 (Fed. Cir. 1999) (finding the copyright owner

failed to meet the burden to show a connection between copyright infringement in a patent

application and the gross profits for the product created and sold based on that patent). The

copyright owner not only has to show some rational connection between the particular source of
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revenue and the act of infringement but must also offer something more than speculative evidence

to support that connection. Bouchat v. Balt. Ravens Football Club, Inc., 346 F. 3d 514, 522–23

(4th Cir. 2003) (“In sum, we conclude that the Defendants could be awarded summary judgment

with respect to any given revenue stream if either (1) there exists no conceivable connection

between the infringement and those revenues; or (2) despite the existence of a conceivable

connection, Bouchat offered only speculation as to the existence of a causal link between the

infringement and the revenues.”).

       Only after the plaintiff has met both these aspects of her burden to establish a causal

connection between an infringing act and a particular revenue stream, does the burden shift to the

defendants to prove apportionment—what portion of the profits are attributable to factors other

than the copyright owner’s work. Bonner v. Dawson, 404 F.3d 290, 294-295 (4th Cir. 2005). If

infringing and non-infringing components are commingled, the defendant must also prove

offsetting costs and reasonable methods for apportioning the relative worth. Andreas, 336 F.3d at

796–97. It is important not to confuse the plaintiff’s burden to establish a causal nexus to a

particular revenue stream with their rebuttal to the defendant’s burden of apportionment within a

revenue stream because each requires a slightly different evidentiary offer at summary judgement.

Dash, 731 F. 3d at 331 (“In order to demonstrate a causal link, the plaintiff must show that the

infringement could reasonably be viewed as one of the causes of the claimed revenues. In order to

rebut a defendant’s evidence that the claimed revenues are not attributable to the infringement, the

plaintiff must show that at least some portion of the revenues was actually generated by the

infringement, rather than by other factors.”).

       In Dash v. Mayweather, the Fourth Circuit translated the copyright owner’s two-part

burden to establish causation along with the alleged infringer’s burden of apportionment described
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above into three distinct ways a defendant may successfully challenge the relationship between

claimed revenues and an alleged infringement at the summary judgment stage:

       “First, the defendant can argue that the plaintiff cannot state a conceivable
       connection between the infringement and the claimed revenues. The plaintiff must
       respond to this challenge by arguing that some such connection exists. A defendant
       will be granted summary judgment on this basis only if it is not even "hypothetically
       possible" that the infringement could have affected the revenues, such as when the
       revenues were determined prior to the infringement. The second method by which
       a defendant can challenge the connection between the infringement and the claimed
       revenues on summary judgment is to argue that, although there may be a
       conceivable connection, the plaintiff has not presented sufficient evidence of a
       causal link between the infringement and the claimed revenues. If a defendant
       makes this argument, the plaintiff must respond by providing some non-speculative
       evidence that would . . . suggest a link between the infringement and the supposedly
       enhanced revenues… As a third option, a defendant can seek summary judgment
       on the basis that all of the claimed revenues are attributable to factors other than
       the infringement. Although the defendant bears the statutory burden of proof on
       this issue, it can still raise a proper motion for summary judgment if it submits
       evidence that no reasonable jury could find that any portion of the claimed revenues
       is attributable to the infringement.”

Id. Ms. Oliver’s alleged infringements, listed in the statement of undisputed material facts above,

will be addressed under this three-part framework.

       A.      Oliver can Offer no Conceivable Connection to Support
               Profits where the Alleged Infringing Activity Resulted in no Profits

       Outside of the Coloring Book and Exhibition Catalog, Oliver has only offered evidence of

all of Meow Wolf’s gross profits without even attempting to explain how some of the infringing

activities she alleges are rationally related to the variety of revenue streams she includes in her

figures for monetary damages. In her answers to Interrogatory No. 14, Oliver limits her claims to

Meow Wolf profits to the display of her work in HoER, the Coloring Book, and the Exhibition

Catalog. See Ex. 2. Logically, Oliver also cannot provide a conceivable connection to any revenue

stream when the alleged infringing activity resulted in no profits. Specifically, the following
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alleged infringements from Oliver’s answers to Meow Wolf’s Interrogatory No. 8 resulted in no

profits:

           c. Marketing the HoER through a virtual reality piece for SXSW;

           d. Inclusion of Meow Wolf in one episode of the Red Bull documentary series,

              “Screenland;”

           h. The Rooster Teeth series which aired without Space Owl;

           i. The “Meow Wolf: Origin Story” documentary which lost                   ; See financial

              statements attached as Exhibit 18.

           j. Social media posts;

           k. Investor pitch materials.

           The investor pitch materials included pictures of the HoER as illustration of past

accomplishments. Ex. 12, at MW_18133. Oliver’s claim for Meow Wolf profits based on capital

investments made in response to investor pitch materials fails as a matter of law because

investments of capital are not “profits.” Investor pitch materials are not sold and do not generate

revenue or profits. Investor pitch materials are not used to advertise anything for sale. As a matter

of law, the copyright remedy offered by § 504(b) is defined as profits. The Act does not provide a

definition for the word profit, but Black's Law Dictionary (10th ed. 2014) defines “profits” as

“[t]he excess of revenues over expenditures in a business transaction.” Id. at 1404. Investment, on

the other hand, is defined as “[a]n expenditure to acquire property or assets to produce revenue; a

capital outlay." Id. at 954. Any capital investments made in response to the alleged infringing

investor materials produced revenue for the investor, not Meow Wolf, and does not fit within the

constraints in § 504(b) of gross revenues minus expenditures.
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       Oliver’s claim for Meow Wolf profits based on inclusion of a picture of Space Owl in

investor pitch decks also fails as a matter of law because she has not presented evidence of any

conceivable connection between investor decisions and an image of Space Owl. Like the Bouchat

court’s observation regarding the likelihood that a consumer would purchase NFL trading cards or

a video game to catch a glimpse of the Flying B logo on a player’s helmet, it defies reason that an

investor would base their decision to risk capital based on a picture of ISQ rather than on the

portions of the pitch deck conveying Meow Wolf’s financial records, business plans, and

leadership. Plaintiff has made no argument that any investor took a risk on Meow Wolf because

of one decorative image of a single artist’s work (among dozens of HoER exhibits by hundreds of

artists) because such an argument would be rank speculation.

       Oliver has not and cannot meet her burden to establish a causal nexus between an alleged

act of infringement and a particular revenue stream with respect to the acts that resulted in no

profits—including marketing HoER through a virtual reality piece for SXSW; inclusion of Meow

Wolf in an episode of the Red Bull documentary series “Screenland;” the Rooster Teeth series

which did not include Space Owl; the “Meow Wolf: Origin Story” documentary; social media

posts; and investor pitch materials.

B.     Oliver has not Provided Sufficient Evidence of a Causal Link to Profits
       From Alleged Infringing use of ISQ in Promotional Materials or Pitch Decks

       Rulings related to recovery of profits under §504(b) of the Act can be divided into those

where the plaintiffs claim profits from the direct sale of a product containing infringing content

versus those where the act of infringement is found in advertisements, promotional materials, and

other activities that don’t directly generate revenue. Compare Wood v. Houghton, 589 F. Supp. 2d

1230, 1248 to Polar Bear Prods. v. Timex Corp., 384 F. 3d 700, 712 (9th Cir. 2004). However,

“[o]n its face, § 504(b) does not differentiate between ‘direct profits’ – those that are generated by
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selling an infringing product – and ‘indirect profits – revenue that has a more attenuated nexus to

the infringement.” Mackie, 269 F. 3d at 914. When claiming gross revenue for alleged

infringements found in promotional materials, a plaintiff’s burden to establish that the profits

sought were caused by the infringement is, arguably, even more important to avoiding absurd

results. See On Davis, 246 F. 3d at 160. For example, the jury in Polar Bear awarded $2.1 million

to Polar Bear when Timex continued using Polar Bear’s adventure kayaking film in its promotion

of a line of watches after their one-year licensing agreement had expired. Polar Bear at 712.

Specifically, Timex used a ten-minute loop from the film at twelve different trade shows between

1995 and 1998, in a promotional campaign with Mountain Dew, and in videos used to train

salespeople at a large national retailer. Id. at 704. At trial, Polar Bear’s expert estimated that they

were entitled to recover between $1.7 and $3.2 million based on his aggregation of profit from

three sources: 1) Timex’s direct sales at the twelve trade shows; 2) its use of a still image in the

Mountain Dew promotion; and 3) the overall enhancement of brand prestige resulting from

Timex’s association with the sport of extreme kayaking. Id. at 712. The Court found that the expert

established a causal nexus and a reasonable approximation of the profit related to the infringement

when he offered non-speculative estimates of gross revenue at trade shows. Id. Polar Bear also

demonstrated a causal nexus with the Mountain Dew promotional materials that contained a Timex

advertisement with the infringing material and satisfied its burden of establishing Timex’s gross

revenue attributable to the infringement with a Timex press release stating that the promotion

generated $564,000 in sales. Id. However, even though the “brand premium analysis” used to

calculate the impact of the infringing advertising on the profitability of Timex’s products overall

was clearly laid out, the court ruled “Polar Bear failed to establish the required causal nexus

between the infringement and the profits sought” and vacated the entire indirect profits award. Id.
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at 713. The court acknowledged that Polar Bear need not put individual customers on the stand to

testify that the infringing content was the reason they bought the product but “a copyright plaintiff

must present a modicum of proof linking the infringement to the profits sought.” Id. at 715.

       Oliver’s copyright damages expert, Mr. Mangum, provides no support to tie any alleged

infringements, much less the alleged infringements in promotional materials, to a particular

revenue stream in his expert report or deposition testimony. Ex. 16 and Ex. 17. In fact, Mr.

Mangum expressly asserts that his opinion regarding Oliver’s damages is based on a literal reading

of Sec. 504(b) and, consequently, an assumption that Oliver merely needs to opine on all of Meow

Wolf’s gross profits and then the burden shifts to Defendants to apportion costs. See Ex. 16, at ¶

11 and 23. Despite acknowledging that the “HoER was built by 135 artists and features over 70

different rooms across 20,000-square-feet of explorable exhibit space,” (Ex. 16, at ¶ 17) Mr.

Mangum opines that every cent ever made at HoER since opening day in March 2016 should go

to Oliver— including the sale of every Meow Wolf mug in the gift shop, every concert ticket, and

every coffee in the cafe. Mr. Mangum has not shown a causal connection to the

       he labels as “Profit Directly attributable to the Infringement.” Instead, he simply aggregates

every possible Meow Wolf revenue stream, including their COVID-19 Relief Grant. See

“Supplemental Exhibit 1” attached as Exhibit 19. Mr. Mangum makes his disavowal of the

necessity of causal nexus explicit in describing his methodology for reaching that conclusion:

“Therefore, since HoER benefits from the ISQ installation, all revenue generated by the operation

of HoER is attributable to the alleged infringement.” Ex. 16, at ¶ 22. As described above, simply

pointing to all operational revenue without establishing that the alleged infringement caused those

revenues has been universally rejected by courts as insufficient to meet a plaintiff’s causal nexus

burden. The only alleged infringements Mr. Mangum ties to a particular revenue stream are the
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Coloring Book and Exhibition Catalog, which will be addressed in the next section. Ex. 16, at ¶

25.

       Mr. Mangum admits he cannot “determine the incremental value of Meow Wolf’s use of

Oliver’s intellectual property in its investor pitch-decks.” Ex. 16, para 33. But he also refuses to

tie any of the infringements Oliver alleges to any particular revenue stream by completely ignoring

Ms. Oliver’s burden when seeking an award of profits under § 504(b) of the Act.

       Ms. Oliver has failed to meet her burden to establish causal nexus between any particular

revenue stream and the alleged acts of infringement related to promotional activities including

marketing HoER through a VR piece for SXSW, the Red Bull Cross-branding campaign, the CD

cover, the Rooster Teeth series, the “Meow Wolf: Origins” documentary film, social media posts,

and the investor pitch materials because she has offered no evidence, expert or otherwise, to

establish the necessary causal nexus to claim any indirect profits. Unlike the Polar Bear case,

Oliver has not even attempted to provide evidence, much less non-speculative evidence,

establishing that any of these alleged infringements may have influenced the purchasing decisions

of those that bought Meow Wolf admission tickets.

C.     No Rational Jury could Find ISQ Caused all the Revenue from
       Meow Wolf Admissions, the Coloring Book, and Exhibition Catalog
       Because ISQ Comprised a Small Fraction of the Alleged Infringements

       As described in detail below, Defendants have offered evidence demonstrating that the

overwhelming majority of the revenues from admission ticket sales, the coloring book, and the

exhibition catalog are attributable to sources other than the alleged infringement of ISQ and

Space Owl in a “Supplemental Expert Rebuttal Report” from Fernando Torres, MSc. attached as

Exhibit 20. Oliver failed to offer any rebuttal evidence and, instead, simply seeks the entirety of
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the revenues from admission ticket, coloring book, and exhibition catalog sales as if ISQ and

Space Owl were the sole work featured in those products.

        1.        Revenue From Coloring Book and Exhibition Catalog Sales

        An artist rendering of Space Owl is featured on one page of a 27-page coloring book. See

Ex 14, at MW_37744. A photograph of Space Owl is found on one page of the 65-page exhibition

catalog. See Ex 15, at MW_037773. Nonetheless, Oliver’s expert, Mr. Mangum, offers that Oliver

is entitled to all of the profits from the sales of these products resulting in         for the Coloring

Book and              for the Exhibition Catalog. See Ex. 19, page marked “Exhibit 7A.”

        Defendants offered an expert report from Fernando Torres, MSc. where he apportioned the

profits of the Coloring Book and Exhibition Catalog based on the percentage of pages that included

Space Owl, 3.70% and 1.54% respectively. See Ex. 20, at 24-25. As a result, Mr. Torres concludes

that the portion of sales attributable to the alleged infringements is            for the Coloring Book

and          for the Exhibition Catalog. Ex. 20, at 25 (Table 9). When asked about the Coloring Book

and Exhibition Catalog in deposition, Mr. Mangum opined on a variety of ways that an expert

could determine the portion of the products attributable to ISQ and Space Owl and rejected Mr.

Torres’ methods but did not offer his own opinion on apportionment to rebut Mr. Torres’

methodology. See Ex. 17, 123:9–131:17.

        2.        Revenue From Admission Tickets and Related Sales

        Meow Wolf does not sell tickets to see only ISQ; customers buy admission tickets to the

entire HoER. As acknowledged by Oliver’s expert Mr. Mangum, “HoER was built by 135 artists

and features over 70 different rooms across 20,000-square-feet of explorable exhibit space.” Ex.

16, at ¶ 17. Therefore, Defendants offered an expert report from Fernando Torres, MSc.

presenting three different methods for allocating the portion of admission ticket sales attributable
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to ISQ and Space Owl. See Ex. 20, at 9–11. The three objective measures of apportionment for

admissions revenue used by Mr. Torres were 1) the monetary value given to Oliver’s work

relative to all artists who participated in the build of HoER, the proportion of the cost to build

ISQ compared to the total cost to build HoER, and 3) the physical space ISQ occupies compared

to the total exhibit space. See Ex. 20, at 9–11. Applying these methods, Mr. Torres explained that

1) the $10,000 originally offered to Oliver to install ISQ made up 0.95% of the artist revenue

share program funds, 2) ISQ made up 0.47% of labor and material costs, and 3) that ISQ

occupies 0.60% of the total exhibit space in HoER, resulting in an upper bound of 0.95% of

gross revenue and a lower bound of 0.47% gross revenue. Ex. 20, at 10-11. After applying these

percentages to admissions, food and beverage sales, and other sources of revenue and then

subtracting costs of goods sold, Mr. Torres concluded that the profits Oliver could attribute to the

alleged infringement ranges from                            See Ex. 20, at 28 (Table 11) and 29

(Table 12). In making these calculations, Mr. Torres excludes special events revenue because of

their lack of any causal link to a particular exhibit in HoER. Ex 20, at 12.

       No reasonable jury could find that the entirety of the admission ticket sales are

attributable to an installation that makes up less than 1% of the institution or that the entirety of

the coloring book sales and the exhibition catalog sales are attributable to the single page in each

of those publications that includes Space Owl. Since Oliver has provided no evidence or

testimony to dispute the expert apportionment provided by the Defendants, there is no genuine

dispute of material fact as to what portion of Defendant’s profits from the Coloring Book and

Exhibition Catalog derived from factors other than alleged infringement.
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                                        CONCLUSION

WHEREFORE Defendants respectfully request that the Court

       1. Grant summary judgment dismissing plaintiff's claims for statutory damages, costs, and

attorney's fees under §§ 504(a) and 505 of the Copyright Act;

       2. Grant summary judgment dismissing plaintiff’s claims for actual damages pursuant to

§ 504(b) of the Copyright Act;

       3. Grant summary judgment dismissing plaintiff’s claims for Meow Wolf’s profits related

to the following seven alleged acts of infringement: marketing HoER through a VR piece for

SXSW, the Red Bull Cross-branding campaign, the CD cover, the Rooster Teeth series, the “Meow

Wolf: Origins” documentary film, social media posts, and the investor pitch materials;

       4. Grant summary judgment limiting plaintiff’s potential recovery for her claims of

infringement based on the Coloring Book to         ;

       5. Grant summary judgment limiting plaintiff’s potential recovery for her claims of

infringement based on the Exhibition Catalog to         ;

       6. Grant summary judgment limiting plaintiff’s potential recovery for her claims of

infringement based on admission ticket sales to HoER to a maximum of             .

       Dated: April 29, 2022.

                                                       Respectfully submitted,


                                                       BARDACKE ALLISON LLP

                                                       /s/Rose Bryan
                                                       Benjamin Allison
                                                       Maureen Dolan
                                                       Rose Bryan
                                                       Cole Wilson
                                                       Michael Woods
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                                                      P.O. Box 1808
                                                      141 East Palace Avenue
                                                      Santa Fe, New Mexico 87504-1808
                                                      (505) 995-8000
                                                      ben@bardackeallison.com
                                                      maureen@bardackeallison.com
                                                      rose@bardackeallison.com
                                                      cole@bardackeallison.com
                                                      michael@bardackeallison.com

                                                      Attorneys for Defendants Meow Wolf, Inc.
                                                      and Vince Kadlubeck




                                 CERTIFICATE OF SERVICE
       I certify that I caused a true and correct copy of the foregoing filing to be filed through the

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served electronically as more fully described on the Notice of Electronic Filing.



                                                              /s/Rose Bryan
